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                               No. 22-2954

         IN THE UNITED STATES COURT OF APPEALS
                FOR THE SEVENTH CIRCUIT




                         MICHELLE FITZGERALD,

                                                   Plaintiff-Appellant,
                                v.
              RONCALLI HIGH SCHOOL, INC., AND ROMAN
             CATHOLIC ARCHDIOCESE OF INDIANAPOLIS, INC.,

                                                  Defendant-Appellee.


                 On Appeal from a Final Judgment of the
      United States District Court for the Southern District of Indiana
       Case No. 1:19-cv-04291-RLY-TAB Hon. Richard L. Young


      BRIEF OF NATIONAL EMPLOYMENT LAWYERS ASSOCIATION
      AND THE NATIONAL EMPLOYMENT LAW PROJECT AS AMICI
           CURIAE SUPPORTING APPELLANT AND REMAND

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                                   APPEARANCE & CIRCUIT RULE 26.1 DISCLOSURE STATEMENT

Appellate Court No: _No-22-2954

Short Caption: _Fitzgerald v. Roncalli High School

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(2)       The names of all law firms whose partners or associates have appeared for the party in the case (including proceedings in the district court or
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                                INTEREST OF THE AMICI CURIAE1

        Founded in 1985, the National Employment Lawyers Association (NELA) is the largest

bar association in the country focused on empowering workers’ rights attorneys. NELA and its

69 circuit, state, and local affiliates have a membership of over 4,000 attorneys who are

committed to protecting the rights of workers in employment, wage and hour, labor, and civil

rights disputes. NELA and its members, who litigate these issues on behalf of employees,

advocate for protecting religious freedom while ensuring continuity in the application of

antidiscrimination laws. NELA has a particular interest in the current attempt to broaden the

ministerial exception, as the proposed exception would strip countless workers of the workplace

protections guaranteed by our Nation's laws.

        The National Employment Law Project (“NELP”) is a non-profit legal organization with

over 50 years of experience advocating for the employment and labor rights of low-wage and

unemployed workers. NELP seeks to ensure that all employees, especially the most vulnerable

ones, receive the full protection of labor and employment laws, including protections against

discrimination. NELP has a particular focus on a text-based and broad interpretation and

application of labor and employment laws, so that exemptions are read narrowly and most

employers and workers are covered, as intended. NELP has litigated and participated as amicus

curiae in numerous cases in federal and state circuit courts and the U.S. Supreme Court,

addressing the importance of equal access to labor and employment protections for all workers.

Given Amici’s efforts to protect employees who suffer religious discrimination, Amici understand

the importance of religious freedom but similarly recognize the critical importance of providing


1
 All parties have consented to the filing of this brief by blanket consent or letter. No counsel for a party
has authored this brief in whole or in part, and no person other than Amici curiae, its members, and its
counsel have made monetary contributions to the preparation or submission of this brief.


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workplaces free from invidious discrimination. Because of these unique perspectives, Amici

believe their insights will assist the Court in addressing this vital issue.


                     INTRODUCTION AND SUMMARY OF ARGUMENT

        The “power to decide . . . free from state interference, matters of church government as

well as those of faith and doctrine” is undoubtedly a principal tenet of religious autonomy in the

United States. Kedroff v. St. Nicholas Cathedral of Russian Orthodox Church in N. Am., 344

U.S. 94, 116 (1952). The ministerial exception plays an important role in protecting this

autonomy. The ministerial exception’s purpose, however, is not to immunize religious

institutions from liability against any and all claims that may arise in the workplace—particularly

promises that Title VII will provide employees a workplace free of invidious discrimination.

Runyon v. McCray, 427 U.S. 160, 190-91 (1976) (Stevens, J., concurring) (“The policy of the

Nation as formulated by the Congress in recent years has moved constantly in the direction of

eliminating [discrimination] in all sectors of society.”).2 Instead of stripping countless employees

of their federal anti-discrimination protections, this Court should retain the balance between

preserving First Amendment protections for religious organizations and safeguarding Congress’s

goal of preventing invidious workplace discrimination.

        The Court in Hosanna-Tabor established four relevant considerations for determining

whether a religious organization employee should be considered a “minister” for purposes of the

exception: (1) “the formal title given [] by the Church,” (2) “the substance reflected in that title,”

(3) “[the employee’s] use of that title, and” (4) “the important religious functions [the employee]

performed for the Church.” Hosanna-Tabor Evangelical Lutheran Church and Sch. v. E.E.O.C.,



2
 Although Runyon involved racial segregation, the policy holds true for all forms of unlawful
discrimination.


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565 U.S. 171, 192 (2012).3 Applying the Hosanna-Tabor factors, the Seventh Circuit adopted a

totality-of-the-circumstances test which included “tak[ing] all relevant circumstances into

account” when determining whether an employee is a minister. See Grussgott v. Milwaukee

Jewish Day Sch., Inc., 882 F.3d 655, 661 (7th Cir. 2018); Our Lady of Guadalupe Sch. v.

Morrissey-Berru, 140 S. Ct. 2049, 2067 (2020).

        This is the appropriate test for continuing to strike the delicate balance between religious

and employment protections. The district court here, misapplying Starkey, failed to retain this

balance and assigned undue weight to one factor—what an employee is “entrusted to do.”

Fitzgerald v. Roncalli High Sch., Inc., No. 1:19-cv-04291-RLY-TAB, 2022 WL 16707372, at *5

(S.D. Ind. Sept. 30, 2022) (quoting Starkey v. Roman Cath. Archdiocese of Indianapolis, Inc., 41

F.4th 931, 945 (7th Cir. 2022)). Yet, as the Supreme Court has repeatedly emphasized, the

analysis is not a “rigid formula” nor does it “assign any one circumstance particular weight.”

Morrissey-Berru, 140 S. Ct. at 2067; Starkey v. Roman Catholic Archdiocese of Indianapolis,

Inc., 553 F. Supp. 3d 616, 623 (S.D. Ind. 2021), aff'd, 41 F.4th 931 (7th Cir. 2022). Permitting

the court to avoid the totality-of-the-circumstances test creates a dangerous precedent, allowing

employers to thwart all anti-discrimination laws, not just Title VII’s ban on sex-based

discrimination, thereby improperly expanding the ministerial exception well beyond its purpose.

        Religious organizations encompass a large portion of the U.S. economy, employing over

1.7 million people. An unconstrained ministerial exception would force employees who are not

actually ministers—nurses, janitors, librarians, coaches, camp counselors, food service workers,


3
 Amici recognize that “every religion in the world is represented in the population of the United States,
[and] it would be a mistake if the term ‘minister’ . . . w[as] viewed as central to the important issue of
religious autonomy . . . .” Hosanna-Tabor, 565 U.S. at 198. However, for clarity “minister” is used
throughout this brief as term of art for “religious leaders.”




                                                     3
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school resource officers, alumni and media relations coordinators, guidance counselors,

administrative assistants, admissions directors, and music department staff members—to fall

within the ambit of the exception and strip them of protection against workplace discrimination.

       A system where any employee of a religious organization may be considered a minister

goes well beyond the First Amendment’s protection of religious freedom and gives employers

"license to discriminate." Connecticut v. Teal, 457 U.S. 440, 455 (1982). The First Amendment's

safeguards for religious institutions would be distorted if the ministerial exception were

expanded, and the workplace rights for many religious organizations' employees—eliminated.

       Amici urge this Court to follow precedent and remand the case to consider “all relevant

circumstances” when analyzing a case in which the ministerial exception may apply. See

Morrissey-Berru, 140 S. Ct. at 2067 (2020); Grussgott, 882 F.3d at 661.


                                          ARGUMENT

I.      The district court misapplied Starkey and disregarded Supreme Court and Seventh Circuit
precedent by articulating a standard that places undue weight on one factor, thereby creating a
“rigid formula,” rather than taking “all relevant circumstances into account.”


       Counsel for Fitzgerald discusses in detail why the grant of summary judgement to

Roncalli ignored established summary judgment standards since, as the district court noted, there

are contested issues of material fact. Appellant Br. at 33. Beyond that error, Amici’s concern is

that if this Court upholds the district court’s incorrect reading of Starkey—that provisions in

employee handbooks and contracts trump all the other factors that the Supreme Court has said

are required—it would be a misapplication of Supreme Court precedent. This Court must correct

that misinterpretation.

       The First Amendment’s Establishment and Free Exercise Clauses protect the right of

religious groups to shape their own faith and mission. Hosanna-Tabor, 565 U.S. at 188. The First


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Amendment protects this right in the employment context by requiring courts to avoid intruding

upon a religious organization’s employment decisions affecting ministerial employees.4 The

Supreme Court has carved out a narrow exception to federal employment discrimination laws,

allowing religious organizations some discretion in employment decisions to protect the

organization’s religious character. This exception is meant to be narrow because “ministerial

employment is fundamentally distinct” from secular employment. Demkovich v. St. Andrew the

Apostle Par., Calumet City, 3 F.4th 968, 978 (7th Cir. 2021).5 It was created for a specific

purpose and must be tailored to that purpose. See Hosanna-Tabor, 565 U.S. at 199 (Alito, J.,

concurring) (stating the ministerial exception should be tailored to the purpose of allowing

religious groups to choose employees who are essential to the performance of key religious

functions).

        The ministerial exception “recognize[s] . . . a religious entity’s ability to choose its faith

leaders . . . free from government interference” but not at the expense of essential workplace

protections for employees acting in non-religious capacities. Morrissey-Berru, 140 S. Ct. at 2073

(Sotomayor, J. dissenting). Although the First Amendment may require courts to defer to a

religious organization’s decision to terminate an employee who “lies at the heart of [its] work

and workplace,” and “imbue[s] [that organization] with spirituality,” it does not authorize courts

to allow employers to discriminate against employees who do not significantly promote the

institution’s message. Demkovich, 3 F.4th at 981, 979. Therefore, an analysis that “takes all

relevant circumstances into account,” as outlined by the Court in Morrissey-Berru, allows lower

courts to differentiate between those employees who are “chief instrument[s]” in fulfilling the

4
  Morrisey-Berru, 140 S. Ct. at 2060 (stating religious institutions enjoy “autonomy with respect to
internal management decisions that are essential to the institution's central mission”).
5
  See also discussion infra I.A (discussing how the exception is reserved for those employees who
perform vital religious duties and serve an important role in transmitting the faith and furthering the
mission of the church).


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church’s mission, and those that are secular. Morrissey-Berru, 140 S. Ct. at 2067; Demkovich, 3

F.4th at 978.

          A.     The ministerial exception’s purpose is not served where an employee does not
          perform acts that further the religious faith or mission of the religious institution.

          The judiciary avoids involvement in matters affecting church governance. Otherwise,

courts would be prompted to inquire into “the whole subject of the doctrinal theology, the usages

and customs, the written laws, and fundamental organization of every religious denomination.”

Watson v. Jones, 80 U.S. 679, 733 (1871). Such a thorough examination of religious doctrine

would deprive religious institutions of the right to interpret their own rules. The ministerial

exception is intended to “ensure[] that the authority to select and control who will minister to the

faithful—a matter ‘strictly ecclesiastical,’ is the church’s alone.” Hosanna-Tabor, 565 U.S. at

194-195 (quoting Kedroff, 344 U.S. at 119).

          Conversely, where an employee does not actively minister, inquiry into religious

doctrine, usage, and customs is not required by the courts since non-ministerial employees are

not part of church governance. Review of a religious group’s potentially unlawful employment

decisions affecting non-ministerial employees is not only appropriate, but necessary. The

ministerial exception is reserved for those employees in the religious institution who serve an

important role in transmitting the faith and furthering the mission of the institution. Hosanna-

Tabor, 565 U.S. at 192; Morrissey-Berru, 140 S. Ct. at 2060 (“[C]ourts are bound to stay out of

employment disputes involving those holding certain important positions with churches and

other religious institutions.”) (emphasis added). The exception covers employees “who will

personify [the church’s] beliefs” and “perform[] vital religious duties.” Hosanna-Tabor, 565

U.S. at 188; Demkovich, 3 F.4th at 976 (quoting Morrissey-Berru, 140 S. Ct. at 2066) (emphasis

added).



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        The district court’s application of Starkey improperly expands the ministerial exception

to apply to employees with minimal nonsecular tasks by relying too heavily on what an

employee may hypothetically be entrusted to do through job descriptions, handbooks, or other

employment documents. Starkey, 41 F.4th at 931. Because Starkey and Fitzgerald are so

factually distinct, this Court should reverse the district court’s grant of summary judgment in

favor of Roncalli. The district court’s overreliance on Starkey, despite these factual

distinctions, renders this reliance misplaced.6

        On a superficial level, Starkey and Fitzgerald appear to be similar because both plaintiffs

were guidance counselors and signed similar ministry contracts. However, after examining what

each actually did—which the Supreme Court has noted is the correct analysis—it is clear they

are markedly different. See Morrissey-Berru, 140 S. Ct. at 2064 (“[w]hat matters, at bottom, is

what an employee does.”). As a guidance counselor, Starkey delivered a morning prayer over the

school's public address system on multiple occasions. Starkey, 41 F.4th at 936. As Roncalli’s Co-

Director of Guidance, Starkey “discussed religious topics with staff and administration.” Id.

Further, she “instructed staff how to prepare students of different faiths for the Catholic liturgy.”

Id. She attended monthly school masses during which she received Communion and sang with

the congregation. Id. Overall, Starkey played a central role in shaping Roncalli’s mission, having

“participated in discussions. . . about how Roncalli should present itself as a Catholic option for

faith formation and religious education.” Id. at 937. In sum, Starkey was deemed a minister

because more than half of her job responsibilities were exclusively religious in nature.




6
 This case comes to the Court on an appeal of summary judgement. As such, all reasonable inferences
are to be made in the Appellant’s, here Michelle Fitzgerald’s, favor. See Zerante v. DeLuca, 555 F.3d
582, 584 (7th Cir. 2009) (reiterating summary judgment requires the court to review the record in the
“light most favorable to the nonmoving party and draw all reasonable inferences in that party's favor”).


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          On the other hand, Fitzgerald’s job responsibilities were drastically distinct from

Starkey’s and included almost no exclusively religious tasks. While Fitzgerald may have been

“entrusted” on paper to carry out Roncalli’s religious mission, “she never prayed or discussed

religious doctrine as part of work, and [] students did not come to her with religious or spiritual

issues at all.” Fitzgerald, 2022 WL 16707372, at *1 (S.D. Ind. Sept. 30, 2022); see also

Appellant Br. at 6-8 (stating Fitzgerald never discussed anything relating to religion, including

religious curriculum). Like all faculty, Fitzgerald attended “Days of Reflection.” Fitzgerald,

2022 WL 16707372 at *3. However, due to her non-ministerial role, she was exempted from

ministerial sessions, which “involved activities like commissioning participants to ‘faithfully and

joyfully serve as ministers of the faith.’” Id. (quoting App. at 36). Unlike Starkey, who

continuously performed religious tasks throughout her tenure at Roncalli, Fitzgerald performed

only three minor religious functions during her fifteen years of employment: (1) proposed that

students be permitted to gather to talk or pray after the Parkland school tragedy rather than them

staging a walkout,7 (2) discussed and read—but did nothing to implement—one religious book,

as a member of the Administrative Council,8 and (3) attended one Senior Retreat, where she

briefly discussed the “ups and downs of her own life.” Appellant Br. at 14.

          Relying on Starkey, the district court misapplied Supreme Court precedent in a way that

undermines the ministerial exception’s purpose. While Starkey may have been entrusted to

perform religious functions and actually performed them, Fitzgerald did not. Given the facts of

this case, a reasonable jury could find that Fitzgerald did not personify the church’s beliefs or

perform any vital religious duties. Hosanna-Tabor, 565 U.S. at 188.




7
    See Appellant Br. at 10.
8
    See Appellant Br. at 29.


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       B.     If Starkey is interpreted to create a one-factor test—what an employee is
       hypothetically entrusted to do—then Starkey sharply contradicts Supreme Court
       precedent and this Court’s previous decision in Grussgott.

       The Supreme Court explicitly instructed courts to “take all relevant circumstances into

account” in determining whether an employee is a “minister” for purposes of applying the

exception. Morrissey-Berru, 140 S. Ct. at 2067. The Court has emphasized that the factors set

out in Hosanna-Tabor are not meant to constitute a “rigid formula,” and no one factor is meant

to be dispositive. Id. at 2063 (emphasis added); Hosanna-Tabor, 565 U.S. at 193 (stating “such

a title, by itself, does not automatically ensure coverage”). In Morrissey-Berru, the Court

stressed that not only were the teachers expected to help the schools carry out their missions, but

that they actually “performed vital religious duties.” Morrissey-Berru, 140 S. Ct. at 2066. As

noted above, the Supreme Court emphasized that “[w]hat matters, at bottom, is what an

employee does.” Id. at 2064.

        Because of this directive and the Court’s edict to “take all relevant circumstances into

account,” id. at 2067, the actual function of the employee’s role is as relevant as what an

employment contract says the employee hypothetically does. The district court acknowledged

that Fitzgerald raised “numerous genuine factual disputes over what exactly she did at the

school.” Fitzgerald, 2022 WL 16707372, at *5. “[A]s far as Fitzgerald attempts to create genuine

disputes as to these issues, she is correct that a reasonable jury could make each of those findings

on this record.” Id. However, the district court stated that these factual disputes were immaterial

under Starkey, thereby sidestepping the requirement to examine “all relevant circumstances.” Id.

        If Starkey is read to rely on only one factor in determining whether an employee is a

minister, as the district court applied it below, the Starkey Court conflicted with Supreme Court

precedent and also created an intra-Seventh Circuit split, deviating from the Court’s decision in




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Grussgott v. Milwaukee Jewish Day Sch., Inc., 882 F.3d 655 (7th Cir. 2018). In Grussgott, the

Seventh Circuit read Hosanna-Tabor to “impose, in essence, a totality-of-the circumstances

test.” Id. at 661. Grussgott acknowledged that Hosanna-Tabor's four-factor analysis provided a

“useful framework” despite not being dispositive in every case. Id. at 658-59. Thus, the

Grussgott Court considered the employee’s job title, how she held herself out to the public, the

“substance reflected in [her] job title,” and the important functions she performed. Id. at 659-60.

The Court concluded that “all facts must be taken into account and weighed on a case-by-case

basis.” Id.

        Here, the district court relied on Starkey language that “[w]hat an employee does involves

what an employee is entrusted to do, not simply what acts an employee chooses to perform.”

Fitzgerald, 2022 WL 16707372, at *5 (quoting Starkey, 41 F.4th at 941). The Starkey Court

explained that “[u]nder Starkey's theory, an individual placed in a ministerial role could

immunize themself from the ministerial exception by failing to perform certain job duties and

responsibilities. Religious institutions would then have less autonomy to remove an

underperforming minister than a high-performing one.” Starkey, 41 F.4th at 941. However, this

explanation ignores the reality of the workplace—if these religious functions are central to the

job, an employee should be disciplined or fired for not performing them. A religious institution

would still retain the autonomy to remove underperforming employees. Significantly here,

Fitzgerald was viewed as an excellent employee, even commended for her performance for over

14 years. See Fitzgerald, 2022 WL 16707372, at *3. Not once was she reprimanded or otherwise




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counseled for not performing religious activities that were hypothetically part of her job.9 See

Appellant Br. at 15-16, 20-21.

        Although the Seventh Circuit in Grussgott declined to take a “purely functional approach

in determining whether an employee’s role is ministerial,” the district court’s failure to consider

the duties actually performed by Fitzgerald ignores Seventh Circuit precedent to take “all facts .

. . into account.” Grussgott, 882 F.3d at 661 (citing Cannata v. Cath. Diocese of Austin, 700

F.3d 169, 176 (5th Cir. 2012) (“[B]ecause the Supreme Court eschewed a ‘rigid formula’ in

favor of an all-things-considered approach, courts may not emphasize any one factor at the

expense of other factors.”) (alteration in original)).

        This misguided focus, solely on the tasks with which employees are entrusted, may

incentivize religious employers to put any religious tasks in the job description but not ensure

that those religious tasks are actually completed. Thus, employers could shield themselves from

liability for unlawful discrimination under the guise of ministry work.


II.    Fitzgerald’s unjustified expansion of the ministerial exception would potentially strip
millions of religious organization employees of their federally protected rights to be free from
invidious workplace discrimination.

        If an employee is found to be a minister, that employee loses all their legal

antidiscrimination protections, regardless of whether it was sex-based discrimination, as

presented here, or discrimination based upon race, color, national origin, age, and or disability.

Inclusive and equitable workplace environments strengthen our democracy. Yet, our nation’s

struggle toward achieving equal opportunity and eradicating discrimination is an ongoing battle.

The Civil Rights Act of 1964 was signed at a strenuous time in our nation’s history. Given the

9
 See also Pl.’s Suppl. App. at 23 ¶ 167, ECF No. 125 (“At no point. . . did Principal Weisenbach tell the
other guidance counselors or [Fitzgerald] that [they] needed to pray with students, talk about God or
religion in [their] counseling appointments, or otherwise perform [their] counseling work from a religious
perspective.”).


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often violent and brutal events paving the way for equal rights in this country, the Act’s purpose

was “the vindication of human dignity.” Heart of Atlanta Motel, Inc. v. U. S., 379 U.S. 241, 291

(1964) (Goldberg, J. concurring). Its enactment inspired additional civil rights and

antidiscrimination legislation meant to protect a substantial number of American workers,

including millions of those in the religious sector.10

        If the district court’s misapplication of Starkey—focusing on what an employee is

hypothetically “entrusted to do”—is accepted, it would dramatically increase the reach of the

ministerial exception, inflame the discrimination battle, and impede our country’s two-hundred-

year struggle to “preserve and expand the promise of liberty and equality” for all citizens.

Starkey, 41 F.4th at 941; Parents Involved in Cmty. Schs. v. Seattle Sch. Dist. No. 1, 551 U.S.

701, 787 (2007) (Kennedy, J., concurring). Permitting a religious employer to apply the

exception to a broad group of employees who do not in fact have religious duties would, in

essence, allow them to further “limit [their] employees’ civil rights,” even if their tasks are

“unrelated to religion.”11 If the district court’s primary factor test of what an employee is

“entrusted to do,” rather than what an employee actually does, is adopted, it would strip

“countless coaches, camp counselors, nurses, social-service workers, in-house lawyers, media-

relations personnel, and many others who work for religious institutions” of their hard-fought

legal protections. Morrissey-Berru, 140 S. Ct. at 2082 (Sotomayor, J., dissenting). Other courts

and judges have echoed similar warnings regarding the expansion of the exception.12
10
   See The Equal Pay Act of 1963, 29 U.S.C. § 206(d); The Pregnancy Discrimination Act of 1978, 42
U.S.C. § 2000e; The Age Discrimination in Employment Act of 1967 (ADEA), 29 U.S.C. § 621; The
Americans with Disabilities Act of 1990 (ADA), 42 U.S.C. § 12101; The Civil Rights Act of 1991, 42
U.S.C. § 1981; The Rehabilitation Act of 1973, 29 U.S.C. § 791; The Genetic Information
Nondiscrimination Act (GINA) of 2008, 42 U.S.C. § 200ff.
11
   Sabine Tsuruda, Disentangling Religion and Public Reason: An Alternative to the Ministerial
Exception, 106 CORNELL L. REV. 1255, 1260 (2021).
12
   See also Demkovich, 3 F.4th at 995 (7th Cir. 2021) (Hamilton, J., dissenting) (“[M]any employers with
religious affiliations, such as hospitals and schools, are trying to expand the reach of the ministerial
exception to cover a much broader range of their


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        There is no reason to deprive citizens of their equal opportunity to pursue their workplace

goals free from discrimination when the reach of the ministerial exception already adequately

protects religious organizations. Moreover, Starkey’s rationale risks depriving millions of

religious workers of their statutorily granted antidiscrimination and workplace protections.

        A.    Religious organizations employ millions of workers in various sectors of the
        economy.

        Around 1.73 million workers are employed by religious organizations in the United

States.13 The majority of these religious organization employees have occupations wholly

unrelated to ministerial functions. Religious educational institutions, home health care services,

hospitals, food service providers, gymnasiums, childcare services, and social work facilities

contribute to a “religious organization” sector that generates an estimated 400 billion dollars in

annual revenues.14 These statistics indicate that hundreds of thousands of religious organization

employees are rightly entitled to Title VII and other federal civil rights protections.




employees, such as teachers, nurses, and other health-care workers.”); Sterlinski v. Cath. Bishop of
Chicago, 934 F.3d 568, 570–71 (7th Cir. 2019), as amended on denial of reh'g and reh'g en banc (Oct.
31, 2019) ("It is easy to see a potential problem with a completely hands-off approach. Suppose a church
insists that everyone on its payroll, down to custodians and school-bus drivers, is a minister. That is not
fanciful—it is what one religious group did assert in Tony & Susan Alamo Foundation v. Secretary of
Labor, 471 U.S. 290, 105 S.Ct. 1953, 85 L.Ed.2d 278 (1985), in claiming an immunity from federal
minimum-wage legislation."); DeWeese-Boyd v. Gordon Coll., 487 Mass. 31, 163 N.E.3d 1000, 1017
(2021), cert. denied, 212 L. Ed. 2d 227, 142 S. Ct. 952 (2022) (reasoning that including “everyone in the
[Gordan College] community” as under the ambit of the ministerial exception, “whether they be coaches,
food service workers, or transportation providers,” “would provide a significant expansion of the
ministerial exception well beyond ‘individuals who play certain key roles’ in a religious institution. “As a
result, the breath of this expansion . . . and its eclipsing and elimination of civil law protection against
discrimination would be enormous.”).
13
   Religious Organizations, DATA USA, http://bit.ly/3jadT1a (last visited Jan. 19, 2023).
14
   See Brian J. Grim & Melissa E. Grim, The Socioeconomic Contribution of Religion to American
Society: An Empirical Analysis, 12 INTERDISC. J. OF RESEARCH AND RELIGION 3 (2016). The study uses
data from religiously affiliated educational organizations, congregation finances and activities, faith-
based charities, religious media industry, and traditional kosher and halal food revenues to derive its
conservative estimate of 378 billion dollars in the total annual revenue of religious organizations in the
United States.


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        One of religious organizations’ largest sectors is the healthcare industry. There are nearly

4 million employees—many of whom do not share their employers’ same beliefs—currently

working for non-profit hospitals run by religious organizations.15 Catholic hospitals alone make

up 752,739 of those employees.16 In fact, in 2016, around 20 percent of hospitals were religiously

affiliated.17 These numbers are only expected to increase given the rise in mergers between

secular and religiously affiliated hospitals in the last decade.18

        The religious education sector19 also accounts for a large portion of religious

organizations’ revenue and funding. These educational institutions funnel roughly 74 billion

dollars annually into the U.S. economy.20 In 2021, education was one of the top employment

sectors for the Bureau of Labor Statistics’ Religious Organizations estimates, employing

teachers, administrative staff, coaches, librarians, food service workers, janitors, and building

and grounds maintenance workers.21 During the 2011-2012 school year, religiously affiliated

elementary and secondary schools employed 478,790 full-time staff.22 That number has likely

only increased since the last comprehensive religious education survey.



15
   Am. Hosp. Ass’n, AHA Hospital Statistics 10, 209-10 (2022 ed.).
16
   See U.S. Catholic Health Care, Cath. Health Ass’n U.S., https://bit.ly/3RcJ7RO (last visited Jan. 20,
2023).
17
   Maryam Guiahi, MD, et al., Patient Views on Religious Institutional Health Care, JAMA NETWORK
(Dec. 27, 2019), https://bit.ly/40m5Uiu.
18
   See Tess Solomon, MPH, et al., Bigger and Bigger: The Growth of Catholic Health Systems,
COMMUNITY CATALYST (2020), https://bit.ly/3RbBMSJ (“The 10 largest Catholic health systems have
grown and strengthened through mergers and acquisitions, and now control significantly more short-term
acute care hospitals than they did two decades ago. These 10 systems own or control 394 short-term acute
care hospitals, a 50 percent increase since 2001.”).
19
   The religious education sector includes primary, secondary, and higher education institutions.
20
   Id. at 13.
21
   May 2021 National Industry-Specific Occupational Employment and Wage Estimates, U.S. BUREAU OF
LAB. STATS. (Mar. 31, 2022), http://bit.ly/3HjbKs0.
22
   This figure includes principals, assistant principals, teachers, teacher aides, guidance counselors,
librarians, media specialists, library aides, nurses, student support staff, secretaries and clerical staff, food
service personnel, custodians, and groundskeepers. See Digest of Education Statistics: Table 205.60,
Nat’l Ctr. Educ. Stat. (June 2013), http://bit.ly/3DpGFC2.


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        Given these figures, religious organizations undoubtedly operate in comparable size,

profit, and economic influence as nonreligious corporations. Differences between major for-

profit employers and any number of religious organizations are not readily discernible by

comparing profitability or widespread economic impact. Both employ workers who perform

similar secular functions, yet, religious organizations enjoy exemptions from laws created to

protect workers from discrimination.

        B.      If courts focused solely on Starkey’s “entrusted to do” language, religious
        organizations could discriminate against most, if not all, of their employees, including
        secretaries, maintenance workers, librarians, food service workers, and more.

        The ministerial exception was intended as a shield for religious liberty.23 Instead, it can

become a sword to slice through anti-discrimination laws, further threatening our nation’s

struggle to achieve equitable work environments. If courts focused solely on the “entrusted

to . . .” language,24 every janitor, secretary, food service worker, and anyone else with a key card

at a religious institution could be considered a minister—simply by putting a catch-all religious

clause at the end of a contract. The consequences are legion: millions of American employees

immediately lose anti-discrimination protections.

        By way of example, imagine this “hypothetical”: A janitor has worked at a religious

institution keeping buildings clean and orderly for 14 years. She is a single, 43-year-old mother

to three young children—all of whom are fully dependent on her income. She has no religious

education or training, nor does she hold herself out as furthering the institution’s core mission.

Rather, she simply does her job, maintaining the school grounds and rarely, if ever, talking about

23
   See Hosanna-Tabor, supra note 3 (“By imposing an unwanted minister, the state infringes the Free
Exercise Clause, which protects a religious group’s right to shape its own faith and mission through its
appointments.”) (emphasis added).
24
   Morrisey-Berru, 140 S. Ct. at 2069 (“When a school with a religious mission entrusts a teacher with the
responsibility of educating and forming students in the faith, judicial intervention into disputes between
the school and the teacher threatens the school’s independence in a way that the First Amendment does
not allow.”)


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faith. This janitor, sadly, was recently diagnosed with cancer. Concerned about her age and her

continuing cancer treatments, the religious institution fires her. She had signed a contract stating,

in only one sentence, that she had a duty to “assist students in strengthening and developing their

social, emotional, intellectual and Christian development.” Pet’r Mot. in Opp’n of Summ. J. at 11

(citing Br. 5, 21, 28).25 Under the Starkey analysis (i.e., focusing on what she is “entrusted to do”

as opposed to what she actually does), she would be considered a “minister,” and would thus

have no legal recourse. It strains credibility to say the First Amendment exemption for spiritual

leaders—those who are vital to the organization’s religious mission—strips this mother of anti-

discrimination protection.

        Unwarranted expansion of the ministerial exemption makes this hypothetical a reality.

Under Fitzgerald and Starkey’s reasonings, this janitor becomes a religious leader simply by

putting a catch-all religious clause about what she is “entrusted to do” in her contract. See

Starkey, 41 F.4th at 941. Indeed, in Demkovich, the dissent discussed the ministerial exception’s

broad scope and how religious employers are being encouraged to use it and other church

autonomy doctrines liberally, thus insulating themselves from liability. Id. (Hamilton, J., joined

by Rovner & Wood, JJ., dissenting). Noting the “hydraulic pressure” applied to expand its scope,

Judge Hamilton wrote that a religious organization can merely “increase the perception that

employees . . . are ministers.” Id. (emphasis in original). The dissent provides some graphic

examples, as does the Appellant in their opening brief. See Appellant’s Br. at 39-40. Risking

redundancy, we will not repeat them here; but, without a doubt, if a Starkey type analysis is

adopted, many religious institutions’ employees will lose their promise of being free from

unlawful workplace discrimination.

25
  See also, e.g., Opening for a Custodian, BETHLEHEM BAPTIST CHURCH, https://bit.ly/3XKTvCZ (last
visited Jan. 16, 2023) (“All employees shall maintain a Christian spirit of love and service toward the . . .
staff, congregation, and those we serve, and in all aspects of employment are ministers of our faith.” )


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          Religious institutions’ powers extend far beyond the altar; it follows that every decision a

religious organization makes cannot be doctrine or dogma simply because it is a religious

organization. There are countless “prosaic activities” required to run religious institutions that

are wholly secular. Nation Ford Baptist Church Incorporated v. Davis, 382 N.C. 115, 116 (N.C.,

2022). To properly balance the “values protected by the First Amendment” and the state and

public’s interest in the “courthouse remaining open,” courts therefore must be able to resolve

disputes of “neutral principles of law.” Courts must not allow religious institutions to skirt anti-

discrimination laws by artificially inflating employee’s ecclesiastical roles. Id.; Presbyterian

Church in U.S. v. Mary Elizabeth Blue Hull Mem’l Presbyterian Church, 393 U.S. 440, 449

(1969).

          The federal policy of giving employees notification of their rights guaranteed by the law

is rooted in fairness and equity.26 Indeed, in our nation’s efforts to eradicate employment

discrimination, Congress has emphasized the importance of federal laws protecting workers by

requiring employers to post notice of federal antidiscrimination laws to ensure that employees

have knowledge of their statutory rights to be free from workplace discrimination. See 42 U.S.C.

§ 2000(e)-10. But if the proposed test is adopted, millions of religious organization employees

would be surprised to learn that they are “ministers,” stripped of their rights to be free from

invidious workplace discrimination.27

          In employment law, religion and civil rights cannot always run parallel. Although

religious institutions, in narrow circumstances, can be shielded from the courts’ inquiries, it is
26
   There is no evidence that religious employers are telling their employees that they may lose the
protections of the discrimination laws because they may be considered “ministers.”
27
   Justice Breyer and Justice Ginsburg similarly expressed concerns that the employee did not have
knowledge that she risked discharge for bring a civil action in lieu of resolving a dispute within the
church. Justice Ginsburg expressly stated that “a rule that's going to bind the teachers, then you would
expect to find it in the handbook. But the handbook doesn't tell her, if you complain to the E.E.O.C. about
discrimination, then you will be fired.” See Transcript of Oral Argument at 19-21, Hosanna-Tabor, 565
U.S. 171 (2012) (No. 10-553),.


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not an impenetrable fortress. Indeed, there is certainly a stark contrast between choices in

managing one’s internal affairs and “general immunity from secular laws.” Tucker v. Faith

Bible Chapel Int'l, 36 F.4th 1021, 1027 (10th Cir. 2022) (quoting Morrissey-Berru, 140 S. Ct. at

2060). The ministerial exception is sound policy only when its scope is circumscribed. As the

Supreme Court held, it should extend to the “selection of . . . individuals . . . who play key roles

. . . and personify [the church’s] beliefs,” while “perform[ing] vital religious duties,” and no

more. Morrissey-Berru, 140 S. Ct. at 2067. The mere fact that an employee plays a role—or is

hypothetically “entrusted” to play a role—does not automatically make that role ecclesiastically

significant.

        It is simply unnecessary to broaden the ministerial exception. The Hosanna-Tabor totality-

of-the-circumstances test already carefully protects organization’s religious freedoms, finding that

a wide variety of employees qualify as ministers. The Supreme Court’s test allows courts to make

that distinction and this Court should, for the reasons above, use this standard to assess the

ministerial exception.

                                          CONCLUSION

        This Court should reverse the district court’s judgement and remand for proper analysis

considering the entirety of the Hosanna-Tabor factors.

        Respectfully submitted,

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                               CERTIFICATE OF COMPLIANCE

        In accordance with Federal Rule of Appellate Procedure 32(g)(1) and Circuit Rule 32, I

certify that this brief:

        (i) complies with the type-volume limitation of Circuit Rule 32 because it contains 5,897

words, including footnotes and excluding the parts of the brief exempted by Rule 32(f); and

        (ii) complies with the typeface requirements of Rule 32(a)(5) and the type-style

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in Times New Roman font in a size measuring 12 points or larger.



                                                                 /s/ Michael Foreman




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                                 CERTIFICATE OF SERVICE

       I certify that on February 1, 2023 this brief was filed using the Court’s CM/ECF system.

All participants in the case are registered CM/ECF users and will be served electronically via

that system.

                                                             /s/ Michael Foreman




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